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                  Exhibit 14
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                    1    COOLEY LLP                                 COOLEY LLP
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                         Telephone:     +1 415 693 2000
                    9    Facsimile:     +1 415 693 2222
                   10    Attorneys for Defendant
                         GOOGLE LLC
                   11
                                                    UNITED STATES DISTRICT COURT
                   12
                                                   NORTHERN DISTRICT OF CALIFORNIA
                   13
                                                            OAKLAND DIVISION
                   14

                   15
                         In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                   16    Litigation,
                                                                       GOOGLE LLC’S OBJECTIONS AND
                   17                                                  RESPONSES TO PLAINTIFFS’ THIRD SET OF
                                                                       INTERROGATORIES
                   18    This Document Relates to: all actions

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COOLEY LLP
ATTORNEYS AT LAW                                                                        GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                                           PLFS’ THIRD SET OF INTERROGATORIES
                                                                                           CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR          Document 546-16         Filed 07/14/23      Page 3 of 23



                    1    PROPOUNDING PARTY:             CONSOLIDATED PLAINTIFFS
                    2    RESPONDING PARTY:              GOOGLE LLC
                    3    SET NUMBER:                    Three
                    4           Pursuant to Federal Rules of Civil Procedure Rules 26 and 33 and Rule 33-1 of the Local
                    5    Rules of the United States District Court for the Northern District of California (“Local Rules”),
                    6    Defendant Google LLC (“Google”) responds as follows to Consolidated Plaintiffs’ (“Plaintiffs”)
                    7    Third Set of Interrogatories (the “Interrogatories”), dated March 10, 2023, as follows:
                    8    I.     GENERAL STATEMENT AND OBJECTIONS
                    9           These responses and objections are made solely for the purpose of and in response to this
                   10    matter. Google has not completed its investigation, discovery, analysis, legal research, and
                   11    preparation for trial in this matter. The responses herein are based only upon the information and
                   12    documentation that is presently available and known to Google’s current employees and which has
                   13    been identified as containing potentially relevant information.          It is possible that further
                   14    investigation, discovery, analysis, legal research, and/or preparation may result in the ascertainment
                   15    of additional documentation, or provide additional meaning to currently known factual conclusions
                   16    and legal contentions, all of which may result in the modification of these objections and responses.
                   17    Accordingly, Google reserves the right to amend and/or supplement its responses and objections
                   18    and to make any additional objections that may become apparent. By this statement, however,
                   19    Google does not agree to or adopt any duty to supplement beyond those set forth in the Federal
                   20    Rules of Civil Procedure, the Local Rules, or any other applicable rule or order.
                   21           The following general objections apply to every Interrogatory as propounded by Plaintiffs,
                   22    and are incorporated into each of the following specific responses by reference as if set forth in full
                   23    therein.
                   24               1. Google objects to the Interrogatories to the extent that they seek information
                   25    protected from disclosure by the attorney-client privilege; the work-product doctrine; any other
                   26    applicable privilege, immunity, or protection; or the right of privacy under the California
                   27    Constitution, Article I, Section 1. Any inadvertent disclosure of such information shall not be
                   28    deemed a waiver of any such privilege or protection. Such documents or information shall not be
COOLEY LLP
ATTORNEYS AT LAW                                                                                 GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                         2                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                    CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR          Document 546-16          Filed 07/14/23      Page 4 of 23



                    1    produced in response to the Interrogatories, and any inadvertent production thereof shall not be
                    2    deemed a waiver of any privilege or right with respect to such documents or information or of any
                    3    work product doctrine that may attach thereto. Google specifically reserves all rights afforded
                    4    under the Court’s Order Re: Federal Rule of Evidence 502(d). (ECF No. 285).
                    5                2. Google objects to the Interrogatories to the extent that they seek confidential,
                    6    proprietary, and/or trade-secret information. Google will provide responses containing such
                    7    information only subject to the terms of the Stipulated Protective Order (“Protective Order”)
                    8    entered in this case (ECF No. 59). Google reserves the right to seek additional protections beyond
                    9    those provided in the Protective Order to the extent appropriate for any particularly sensitive
                   10    information, and to object to such information’s disclosure altogether, if, for example, the
                   11    information’s relevance to this litigation is substantially outweighed by the risk of harm posed by
                   12    its disclosure in light of the protections available.
                   13                3. Google objects to the Interrogatories to the extent that they seek information that is
                   14    subject to confidentiality or non-disclosure agreements with other parties. Google shall disclose
                   15    such information only to the extent that Google is permitted to do so under its agreements with such
                   16    parties and only after those parties receive appropriate notice and are provided with a reasonable
                   17    opportunity to raise objections, and the Court resolves any such objections.
                   18                4. Google will not construe the Interrogatories as an attempt to impose discovery
                   19    obligations on Google beyond those authorized by the Federal Rules of Civil Procedure, the Local
                   20    Rules, or any other applicable rule or order, nor will Google undertake such discovery obligations.
                   21                5. Google objects to all Interrogatories to the extent they seek information that the
                   22    Court has ruled is outside the scope of discovery in this action. See, e.g., ECF Nos. 184, 187, 189,
                   23    314, and 326.
                   24                6. Google objects to all Interrogatories to the extent they would (a) expand the
                   25    definition of a term beyond its ordinary usage in the English language; (b) create undue burden for
                   26    Google when propounding its responses and objections to the Interrogatories; and/or (c) impose
                   27    obligations and demands on Google beyond those contemplated by the Federal Rules of Civil
                   28    Procedure, the Local Rules, or any other applicable rule or order. Google will respond to the
COOLEY LLP
ATTORNEYS AT LAW                                                                                  GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                           3                         PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                     CASE NO. 4:21-CV-02155-YGR-VKD
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                    1    Interrogatories consistent with the ordinary English meaning of the words and its obligations under
                    2    the law.
                    3    II.    SPECIFIC OBJECTIONS AND RESPONSES TO EACH INTERROGATORY
                    4           Without waiving or limiting in any manner any of the foregoing General Objections, but
                    5    rather incorporating them into each of the following responses to the extent applicable, Google
                    6    responds to the Interrogatories as follows:
                    7    INTERROGATORY NO. 11:
                    8    With respect to the excel spreadsheet produced by Google as GOOG-HEWT-00455648:
                    9           (a) Identify all persons who assisted in the preparation of the data included in the
                   10    spreadsheet;
                   11           (b) Identify the source(s) of the data included on the spreadsheet;
                   12           (c) Explain what revenues are included in the row entitled “Non-US User Total”;
                   13           (d) Explain what revenues are included in the row entitled “US User Total”;
                   14           (e) Explain what “Non-US User” means in the context of the spreadsheet;
                   15           (f) Explain what “US User” means in the context of the spreadsheet;
                   16           (g) Identify which row on the spreadsheet would include RTB revenues from a Google
                   17    account holder residing in the United States while that account holder is travelling outside the
                   18    United States; and
                   19           (h) Identify which row on the spreadsheet would include RTB revenues from a Google
                   20    account holder residing outside the United States while that account holder is travelling in the
                   21    United States.
                   22           (i) To the extent a formula or calculation was used to provide the data included in the
                   23    spreadsheet, identify the formula or calculation and the specific elements or inputs used in that
                   24    formula or calculation.
                   25    RESPONSE TO INTERROGATORY NO. 11:
                   26           In addition to the foregoing General Objections, which Google incorporates by reference,
                   27    Google objects that this Interrogatory is premature because no class has yet been certified. Google
                   28    also objects to this Interrogatory to the extent that it seeks the disclosure of trade secret or other
COOLEY LLP
ATTORNEYS AT LAW                                                                                 GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                         4                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                    CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR          Document 546-16          Filed 07/14/23      Page 6 of 23



                    1    confidential research, development, or commercially sensitive information. Google further objects
                    2    to this Interrogatory to the extent it seeks information protected by the attorney-client privilege, the
                    3    attorney work-product doctrine, or any other applicable privilege or protection, including without
                    4    limitation because it may seek information about documents prepared by or at the direction of legal
                    5    counsel. Google also objects that the request to identify “all persons” who assisted in the
                    6    preparation of the referenced data is overbroad. Google further objects that this Interrogatory is
                    7    burdensome and harassing in that it “seeks the source(s) of the data included on the spreadsheet,”
                    8    which is not relevant or proportional to the needs of the case and which the Court has already
                    9    rejected as irrelevant and outside the scope of discovery, including based on the Court’s ruling that
                   10    Google need not produce information about “storage” of data. (ECF No. 184.) Google also objects
                   11    to this Interrogatory, including sections (g) and (h), because it would require Google to speculate
                   12    based on an incomplete set of hypothetical facts. Google also objects that the terms and phrases
                   13    “formula,” “calculation,” “provide the data,” and “specific elements or inputs used in that formula
                   14    or calculation” are vague, ambiguous, and unintelligible within the context of this Interrogatory.
                   15    Google also objects to this Interrogatory on the basis that it is compound in that it includes multiple
                   16    discrete subparts. Google construes this Interrogatory to constitute nine discrete interrogatories.
                   17    Moreover, by answering these interrogatories, Google does not waive and reserves all rights to
                   18    object to future interrogatories as exceeding the numerical limit set forth by Federal Rule of Civil
                   19    Procedure 33.
                   20           In addition, Google objects that the terms and phrases “assisted,” “preparation,”
                   21    “source(s),” “revenues,” “while that account holder is travelling outside the United States,” and
                   22    “while that account holder is travelling in the United States” are vague and ambiguous as none are
                   23    self-evident or defined.
                   24           Subject to the foregoing General and Specific Objections, Google responds as follows:
                   25              Timon Koehler, a Senior Financial Analyst, and Sierra Feitshans, a Business
                   26               Intelligence Manager, assisted in the preparation of the data included in GOOG-HEWT-
                   27               00455648;
                   28
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ATTORNEYS AT LAW                                                                                  GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                          5                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                     CASE NO. 4:21-CV-02155-YGR-VKD
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                    1              “Non-US User” means a user accessing the internet using a device with an IP address
                    2               that Google associated with a location outside of the United States at the time the user
                    3               was shown an ad that generated revenue.
                    4              “US User” means a user accessing the internet using a device with an IP address that
                    5               Google associated with a location within the United States at the time the user was
                    6               shown an ad that generated revenue.
                    7              The row entitled “Non-US User Total” includes gross revenue from Authorized Buyers
                    8               and Open Bidding Partners generated by advertisements displayed to Non-US Users as
                    9               defined above.
                   10              The row entitled “US User Total” includes gross revenue from Authorized Buyers and
                   11               Open Bidding Partners generated by advertisements displayed to US Users as defined
                   12               above.
                   13    INTERROGATORY NO. 12:
                   14    With respect to the excel spreadsheet produced by Google as GOOG-HEWT-00455800:

                   15           (a) Identify all persons who assisted in the preparation of the data included in the
                   16    spreadsheet;
                   17           (b) Identify the source(s) of the data included on the spreadsheet;
                   18           (c) Identify for what period of time the data included on the spreadsheet covers; and
                   19           (d) Identify how the accounts to be included on the spreadsheet were selected.
                   20           (e) To the extent a formula or calculation was used to provide the data included in the
                   21    spreadsheet, identify the formula or calculation and the specific elements or inputs used in that
                   22    formula or calculation.
                   23    RESPONSE TO INTERROGATORY NO. 12:
                   24           In addition to the foregoing General Objections, which Google incorporates by reference,
                   25    Google objects that this Interrogatory is premature because no class has yet been certified. Google
                   26    also objects to this Interrogatory to the extent that it seeks the disclosure of trade secret or other
                   27    confidential research, development, or commercially sensitive information. Google further objects
                   28    to this Interrogatory to the extent it seeks information protected by the attorney-client privilege, the
COOLEY LLP
ATTORNEYS AT LAW                                                                                  GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                          6                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                     CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR         Document 546-16          Filed 07/14/23      Page 8 of 23



                    1    attorney work-product doctrine, or any other applicable privilege or protection, including without
                    2    limitation because it may seek information about documents prepared by or at the direction of legal
                    3    counsel. Google also objects that the request to identify “all persons” who assisted in the
                    4    preparation of the referenced data is overbroad. Google further objects that this Interrogatory is
                    5    burdensome and harassing in that it “seeks the source(s) of the data included on the spreadsheet,”
                    6    which is not relevant or proportional to the needs of the case and which the Court has already
                    7    rejected as irrelevant and outside the scope of discovery, including based on the Court’s ruling that
                    8    Google need not produce information about “storage” of data. (ECF No. 184.) Google also objects
                    9    to this Interrogatory on the basis that it is compound in that it includes multiple discrete subparts.
                   10    Google construes this Interrogatory to constitute five discrete interrogatories. Moreover, by
                   11    answering these interrogatories, Google does not waive and reserves all rights to object to future
                   12    interrogatories as exceeding the numerical limit set forth by Federal Rule of Civil Procedure 33.
                   13           In addition, Google objects that the terms and phrases “assisted,” “preparation,”
                   14    “source(s),” “how the accounts to be included on the spreadsheet were selected,” “formula,”
                   15    “calculation,” “provide the data,” and “specific elements or inputs used in that formula or
                   16    calculation” are vague and ambiguous as none are self-evident or defined.
                   17           Subject to the foregoing General and Specific Objections, Google responds as follows:
                   18                  Aaron Powers, a Senior Quantitative User Experience Researcher, assisted in the
                   19                   preparation of the data included in GOOG-HEWT-00455800.
                   20                  The data reflected in GOOG-HEWT-00455800 is from the time period between

                   21                   March 26, 2016 and October 12, 2022.

                   22                  The data reflected in GOOG-HEWT-00455800 includes accounts associated with

                   23                   U.S.-based account holders who were active on select Google products (including

                   24                   Search, YouTube, and many more) at least once during the time period, excluding

                   25                   deleted accounts.

                   26                  No mathematical function other than addition was used to provide the data reflected in

                   27                   GOOG-HEWT-00455800.

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COOLEY LLP
ATTORNEYS AT LAW                                                                                 GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                         7                          PLFS’ THIRD SET OF INTERROGATORIES
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                        Case 4:21-cv-02155-YGR   Document 546-16     Filed 07/14/23      Page 9 of 23



                    1    Dated: April 10, 2023                     COOLEY LLP
                    2

                    3                                              By:
                                                                         Whitty Somvichian
                    4
                                                                   Attorney for Defendant
                    5                                              GOOGLE LLC
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COOLEY LLP
ATTORNEYS AT LAW                                                                      GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                              8                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR          Document 546-16         Filed 07/14/23      Page 10 of 23



                    1                                              VERIFICATION

                    2

                    3              I, Timon Koehler, declare as follows:

                    4              I am a Senior Financial Analyst at Google LLC (“Google”), the defendant in the action In

                    5     re Google RTB Consumer Privacy Litigation, pending in the Northern District of California, Case

                    6     No. 4:21-cv-02155. I have been authorized to make this verification on Google’s behalf.

                    7              I have reviewed Google’s Responses to Plaintiffs’ Third Set of Interrogatories Number 11

                    8     and believe the answers to this interrogatory to be true based on either my own personal knowledge

                    9     or based on documents and/or other information from individuals with personal knowledge of such

                   10     facts.

                   11              I declare under penalty of perjury under the laws of the United States that the foregoing is

                   12     true and correct.
                                                                           April 3, 2023
                   13              Executed in New York, New York on ____________, 2023.

                   14                                                                   ___________________________
                                                                                              Timon Koehler
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                        Case 4:21-cv-02155-YGR          Document 546-16         Filed 07/14/23         Page 11 of 23



                    1                                              VERIFICATION

                    2

                    3              I, Aaron Powers, declare as follows:

                    4              I am a Senior Quantitative User Experience Researcher at Google LLC (“Google”), the

                    5     defendant in the action In re Google RTB Consumer Privacy Litigation, pending in the Northern

                    6     District of California, Case No. 4:21-cv-02155. I have been authorized to make this verification

                    7     on Google’s behalf.

                    8              I have reviewed Google’s Responses to Plaintiffs’ Third Set of Interrogatories Number 12

                    9     and believe the answers to this interrogatory to be true based on either my own personal knowledge

                   10     or based on documents and/or other information from individuals with personal knowledge of such

                   11     facts.

                   12              I declare under penalty of perjury under the laws of the United States that the foregoing is

                   13     true and correct.
                                                                              April 4, 2023
                   14              Executed in Wayland, Massachusetts on                     , 2023.

                   15

                   16                                                                          ___________________
                                                                                                     Aaron Powers
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO
                        Case 4:21-cv-02155-YGR              Document 546-16         Filed 07/14/23       Page 12 of 23



                    1                                           CERTIFICATE OF SERVICE
                    2                 I, Laura M. Elliott, certify that on April 10, 2023, I caused a true and correct copy of the

                    3     foregoing to be sent via electronic mail to the following counsel of record:

                    4      PRITZKER LEVINE LLP                                    SIMMONS HANLY CONROY LLC
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                    5      Jonathan K. Levine (SBN 220289)                        An Truong (admitted pro hac vice)
                           Bethany Caracuzzo (SBN 190687)                         112 Madison Avenue, 7th Floor
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                    8      Fax: (415) 366-6110                                    jaybarnes@simmonsfirm.com
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                   11      Lesley Weaver (SBN 191305)                             Nanci E. Nishimura (SBN 152621)
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                           Fax: (415) 445-4020                                    Fax: (650) 697-0577
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                   22

                   23                                                              Laura M. Elliott
                                                                                   Cooley, LLP
                   24

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                          283024063
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ATTORNEYS AT LAW                                                                                      GOOGLE LLC’S RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                              9                          PLFS’ THIRD SET OF INTERROGATORIES
                                                                                                         CASE NO. 4:21-CV-02155-YGR-VKD
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                    1     COOLEY LLP                                   COOLEY LLP
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                    7     (adhillon@cooley.com)
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                   10     Attorneys for Defendant
                          GOOGLE LLC
                   11
                                                     UNITED STATES DISTRICT COURT
                   12
                                                    NORTHERN DISTRICT OF CALIFORNIA
                   13
                                                             OAKLAND DIVISION
                   14

                   15
                          In re Google RTB Consumer Privacy              Master File No. 4:21-cv-02155-YGR-VKD
                   16     Litigation,
                                                                         GOOGLE LLC’S SUPPLEMENTAL
                   17                                                    OBJECTIONS AND RESPONSES TO
                                                                         PLAINTIFFS’ THIRD SET OF
                   18     This Document Relates to: all actions          INTERROGATORIES (NOS. 11-12)

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COOLEY LLP
ATTORNEYS AT LAW                                                                     GOOGLE LLC’S SUPP. RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                                            PLFS’ THIRD SET OF INTERROGATORIES
                                                                                             CASE NO. 4:21-CV-02155-YGR-VKD
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                    1     PROPOUNDING PARTY:             CONSOLIDATED PLAINTIFFS

                    2     RESPONDING PARTY:              GOOGLE LLC

                    3     SET NUMBER:                    Three

                    4            Pursuant to Federal Rules of Civil Procedure Rules 26 and 33 and Rule 33-1 of the Local

                    5     Rules of the United States District Court for the Northern District of California (“Local Rules”),

                    6     Defendant Google LLC (“Google”) supplements its responses to Consolidated Plaintiffs’

                    7     (“Plaintiffs”) Third Set of Interrogatories (the “Interrogatories”), dated March 10, 2023, as follows:

                    8     I.     GENERAL STATEMENT AND OBJECTIONS
                    9            These responses and objections are made solely for the purpose of and in response to this

                   10     matter. Google has not completed its investigation, discovery, analysis, legal research, and

                   11     preparation for trial in this matter. The responses herein are based only upon the information and

                   12     documentation that is presently available and known to Google’s current employees and which has

                   13     been identified as containing potentially relevant information.          It is possible that further

                   14     investigation, discovery, analysis, legal research, and/or preparation may result in the ascertainment

                   15     of additional documentation, or provide additional meaning to currently known factual conclusions

                   16     and legal contentions, all of which may result in the modification of these objections and responses.

                   17     Accordingly, Google reserves the right to amend and/or supplement its responses and objections

                   18     and to make any additional objections that may become apparent. By this statement, however,

                   19     Google does not agree to or adopt any duty to supplement beyond those set forth in the Federal

                   20     Rules of Civil Procedure, the Local Rules, or any other applicable rule or order.

                   21            The following general objections apply to every Interrogatory as propounded by Plaintiffs,

                   22     and are incorporated into each of the following specific responses by reference as if set forth in full

                   23     therein.

                   24                1. Google objects to the Interrogatories to the extent that they seek information

                   25     protected from disclosure by the attorney-client privilege; the work-product doctrine; any other

                   26     applicable privilege, immunity, or protection; or the right of privacy under the California

                   27     Constitution, Article I, Section 1. Any inadvertent disclosure of such information shall not be

                   28     deemed a waiver of any such privilege or protection. Such documents or information shall not be
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ATTORNEYS AT LAW                                                                             GOOGLE LLC’S SUPP. RESPONSES AND OBJ. TO
 SAN FRANCISCO                                                          2                         PLFS’ THIRD SET OF INTERROGATORIES
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                    1     produced in response to the Interrogatories, and any inadvertent production thereof shall not be

                    2     deemed a waiver of any privilege or right with respect to such documents or information or of any

                    3     work product doctrine that may attach thereto. Google specifically reserves all rights afforded

                    4     under the Court’s Order Re: Federal Rule of Evidence 502(d). (ECF No. 285).

                    5                 2. Google objects to the Interrogatories to the extent that they seek confidential,

                    6     proprietary, and/or trade-secret information. Google will provide responses containing such

                    7     information only subject to the terms of the Stipulated Protective Order (“Protective Order”)

                    8     entered in this case (ECF No. 59). Google reserves the right to seek additional protections beyond

                    9     those provided in the Protective Order to the extent appropriate for any particularly sensitive

                   10     information, and to object to such information’s disclosure altogether, if, for example, the

                   11     information’s relevance to this litigation is substantially outweighed by the risk of harm posed by

                   12     its disclosure in light of the protections available.

                   13                 3. Google objects to the Interrogatories to the extent that they seek information that is

                   14     subject to confidentiality or non-disclosure agreements with other parties. Google shall disclose

                   15     such information only to the extent that Google is permitted to do so under its agreements with such

                   16     parties and only after those parties receive appropriate notice and are provided with a reasonable

                   17     opportunity to raise objections, and the Court resolves any such objections.

                   18                 4. Google will not construe the Interrogatories as an attempt to impose discovery

                   19     obligations on Google beyond those authorized by the Federal Rules of Civil Procedure, the Local

                   20     Rules, or any other applicable rule or order, nor will Google undertake such discovery obligations.

                   21                 5. Google objects to all Interrogatories to the extent they seek information that the

                   22     Court has ruled is outside the scope of discovery in this action. See, e.g., ECF Nos. 184, 187, 189,

                   23     314, and 326.

                   24                 6. Google objects to all Interrogatories to the extent they would (a) expand the

                   25     definition of a term beyond its ordinary usage in the English language; (b) create undue burden for

                   26     Google when propounding its responses and objections to the Interrogatories; and/or (c) impose

                   27     obligations and demands on Google beyond those contemplated by the Federal Rules of Civil

                   28     Procedure, the Local Rules, or any other applicable rule or order. Google will respond to the
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 SAN FRANCISCO                                                            3                      PLFS’ THIRD SET OF INTERROGATORIES
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                    1     Interrogatories consistent with the ordinary English meaning of the words and its obligations under

                    2     the law.

                    3     II.    SPECIFIC OBJECTIONS AND RESPONSES TO EACH INTERROGATORY
                    4            Without waiving or limiting in any manner any of the foregoing General Objections, but

                    5     rather incorporating them into each of the following responses to the extent applicable, Google

                    6     responds to the Interrogatories as follows:

                    7     INTERROGATORY NO. 11:

                    8     With respect to the excel spreadsheet produced by Google as GOOG-HEWT-00455648:

                    9            (a) Identify all persons who assisted in the preparation of the data included in the

                   10     spreadsheet;

                   11            (b) Identify the source(s) of the data included on the spreadsheet;

                   12            (c) Explain what revenues are included in the row entitled “Non-US User Total”;

                   13            (d) Explain what revenues are included in the row entitled “US User Total”;

                   14            (e) Explain what “Non-US User” means in the context of the spreadsheet;

                   15            (f) Explain what “US User” means in the context of the spreadsheet;

                   16            (g) Identify which row on the spreadsheet would include RTB revenues from a Google

                   17     account holder residing in the United States while that account holder is travelling outside the

                   18     United States; and

                   19            (h) Identify which row on the spreadsheet would include RTB revenues from a Google

                   20     account holder residing outside the United States while that account holder is travelling in the

                   21     United States.

                   22            (i) To the extent a formula or calculation was used to provide the data included in the

                   23     spreadsheet, identify the formula or calculation and the specific elements or inputs used in that

                   24     formula or calculation.

                   25     RESPONSE TO INTERROGATORY NO. 11:

                   26            In addition to the foregoing General Objections, which Google incorporates by reference,

                   27     Google objects that this Interrogatory is premature because no class has yet been certified. Google

                   28     also objects to this Interrogatory to the extent that it seeks the disclosure of trade secret or other
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ATTORNEYS AT LAW                                                                             GOOGLE LLC’S SUPP. RESPONSES AND OBJ. TO
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                    1     confidential research, development, or commercially sensitive information. Google further objects

                    2     to this Interrogatory to the extent it seeks information protected by the attorney-client privilege, the

                    3     attorney work-product doctrine, or any other applicable privilege or protection, including without

                    4     limitation because it may seek information about documents prepared by or at the direction of legal

                    5     counsel. Google also objects that the request to identify “all persons” who assisted in the

                    6     preparation of the referenced data is overbroad. Google further objects that this Interrogatory is

                    7     burdensome and harassing in that it “seeks the source(s) of the data included on the spreadsheet,”

                    8     which is not relevant or proportional to the needs of the case and which the Court has already

                    9     rejected as irrelevant and outside the scope of discovery, including based on the Court’s ruling that

                   10     Google need not produce information about “storage” of data. (ECF No. 184.) Google also objects

                   11     to this Interrogatory, including sections (g) and (h), because it would require Google to speculate

                   12     based on an incomplete set of hypothetical facts. Google also objects that the terms and phrases

                   13     “formula,” “calculation,” “provide the data,” and “specific elements or inputs used in that formula

                   14     or calculation” are vague, ambiguous, and unintelligible within the context of this Interrogatory.

                   15     Google also objects to this Interrogatory on the basis that it is compound in that it includes multiple

                   16     discrete subparts. Google construes this Interrogatory to constitute nine discrete interrogatories.

                   17     Moreover, by answering these interrogatories, Google does not waive and reserves all rights to

                   18     object to future interrogatories as exceeding the numerical limit set forth by Federal Rule of Civil

                   19     Procedure 33.

                   20            In addition, Google objects that the terms and phrases “assisted,” “preparation,”

                   21     “source(s),” “revenues,” “while that account holder is travelling outside the United States,” and

                   22     “while that account holder is travelling in the United States” are vague and ambiguous as none are

                   23     self-evident or defined.

                   24            Subject to the foregoing General and Specific Objections, Google responds as follows:

                   25            •   Timon Koehler, a Senior Financial Analyst, and Sierra Feitshans, a Business

                   26                Intelligence Manager, assisted in the preparation of the data included in GOOG-HEWT-

                   27                00455648;

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                    1            •   “Non-US User” means a user accessing the internet using a device with an IP address

                    2                that Google associated with a location outside of the United States at the time the user

                    3                was shown an ad that generated revenue.

                    4            •   “US User” means a user accessing the internet using a device with an IP address that

                    5                Google associated with a location within the United States at the time the user was

                    6                shown an ad that generated revenue.

                    7            •   The row entitled “Non-US User Total” includes gross revenue from Authorized Buyers

                    8                and Open Bidding Partners generated by advertisements displayed to Non-US Users as

                    9                defined above.

                   10            •   The row entitled “US User Total” includes gross revenue from Authorized Buyers and

                   11                Open Bidding Partners generated by advertisements displayed to US Users as defined

                   12                above.

                   13     SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 13:

                   14            Subject to the foregoing General and Specific Objections, Google has conducted a

                   15     reasonable investigation and supplements its response to this Interrogatory as follows:

                   16            Subpart (b). The data used to prepare Google’s response to Interrogatory No. 11 was

                   17     retrieved from internal revenue tables within Google.

                   18     INTERROGATORY NO. 12:

                   19     With respect to the excel spreadsheet produced by Google as GOOG-HEWT-00455800:

                   20            (a) Identify all persons who assisted in the preparation of the data included in the

                   21     spreadsheet;

                   22            (b) Identify the source(s) of the data included on the spreadsheet;

                   23            (c) Identify for what period of time the data included on the spreadsheet covers; and

                   24            (d) Identify how the accounts to be included on the spreadsheet were selected.

                   25            (e) To the extent a formula or calculation was used to provide the data included in the

                   26     spreadsheet, identify the formula or calculation and the specific elements or inputs used in that

                   27     formula or calculation.

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                    1     RESPONSE TO INTERROGATORY NO. 14:

                    2            In addition to the foregoing General Objections, which Google incorporates by reference,

                    3     Google objects that this Interrogatory is premature because no class has yet been certified. Google

                    4     also objects to this Interrogatory to the extent that it seeks the disclosure of trade secret or other

                    5     confidential research, development, or commercially sensitive information. Google further objects

                    6     to this Interrogatory to the extent it seeks information protected by the attorney-client privilege, the

                    7     attorney work-product doctrine, or any other applicable privilege or protection, including without

                    8     limitation because it may seek information about documents prepared by or at the direction of legal

                    9     counsel. Google also objects that the request to identify “all persons” who assisted in the

                   10     preparation of the referenced data is overbroad. Google further objects that this Interrogatory is

                   11     burdensome and harassing in that it “seeks the source(s) of the data included on the spreadsheet,”

                   12     which is not relevant or proportional to the needs of the case and which the Court has already

                   13     rejected as irrelevant and outside the scope of discovery, including based on the Court’s ruling that

                   14     Google need not produce information about “storage” of data. (ECF No. 184.) Google also objects

                   15     to this Interrogatory on the basis that it is compound in that it includes multiple discrete subparts.

                   16     Google construes this Interrogatory to constitute five discrete interrogatories. Moreover, by

                   17     answering these interrogatories, Google does not waive and reserves all rights to object to future

                   18     interrogatories as exceeding the numerical limit set forth by Federal Rule of Civil Procedure 33.

                   19            In addition, Google objects that the terms and phrases “assisted,” “preparation,”

                   20     “source(s),” “how the accounts to be included on the spreadsheet were selected,” “formula,”

                   21     “calculation,” “provide the data,” and “specific elements or inputs used in that formula or

                   22     calculation” are vague and ambiguous as none are self-evident or defined.

                   23            Subject to the foregoing General and Specific Objections, Google responds as follows:

                   24                •   Aaron Powers, a Senior Quantitative User Experience Researcher, assisted in the

                   25                    preparation of the data included in GOOG-HEWT-00455800.

                   26                •   The data reflected in GOOG-HEWT-00455800 is from the time period between

                   27                    March 26, 2016 and October 12, 2022.

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                    1                •   The data reflected in GOOG-HEWT-00455800 includes accounts associated with

                    2                    U.S.-based account holders who were active on select Google products (including

                    3                    Search, YouTube, and many more) at least once during the time period, excluding

                    4                    deleted accounts.

                    5                •   No mathematical function other than addition was used to provide the data reflected in

                    6                    GOOG-HEWT-00455800.

                    7     SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 13:

                    8            Subject to the foregoing General and Specific Objections, Google has conducted a

                    9     reasonable investigation and supplements its response to this Interrogatory as follows:

                   10            Subpart (b). The data used to prepare Google’s response to Interrogatory No. 12 was

                   11     retrieved from an internal data aggregation tool within Google.

                   12

                   13     Dated: June 29, 2023                               COOLEY LLP
                   14

                   15                                                        By:    /s/ Whitty Somvichian
                                                                                   Whitty Somvichian
                   16
                                                                             Attorney for Defendant
                   17                                                        GOOGLE LLC
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ATTORNEYS AT LAW                                                                            GOOGLE LLC’S SUPP. RESPONSES AND OBJ. TO
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                    1                                            VERIFICATION
                    2            I, Ron Zember, declare as follows:

                    3            I am a Senior Finance Manager at Google LLC (“Google”), the defendant in the action In

                    4     re Google RTB Consumer Privacy Litigation, pending in the Northern District of California, Case

                    5     No. 4:21-cv-02155. I have been authorized to make this verification on Google’s behalf.

                    6            I have reviewed Google’s Supplemental Response to Plaintiffs’ Third Set of Interrogatories

                    7     Number 11 and believe the answers to this interrogatory to be true based on either my own personal

                    8     knowledge or based on documents and/or other information from individuals with personal

                    9     knowledge of such facts.

                   10            I declare under penalty of perjury under the laws of the United States that the foregoing is

                   11     true and correct.
                                                                          June 28, 2023
                   12            Executed in New York, New York on _______________.

                   13

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                                                                                             ___________________
                   15                                                                          Ron Zember
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                    1                                      CERTIFICATE OF SERVICE
                    2            I, Khary Anderson, certify that on June 29, 2023, I caused a true and correct copy of the

                    3     foregoing to be sent via electronic mail to the following counsel of record:

                    4      PRITZKER LEVINE LLP                               SIMMONS HANLY CONROY LLC
                           Elizabeth C. Pritzker (SBN 146267)                Jason ‘Jay’ Barnes (admitted pro hac vice)
                    5      Jonathan K. Levine (SBN 220289)                   An Truong (admitted pro hac vice)
                    6      Bethany Caracuzzo (SBN 190687)                    112 Madison Avenue, 7th Floor
                           1900 Powell Street, Suite 450                     New York, NY 10016
                    7      Emeryville, CA 94608                              Tel.: (212) 784-6400
                           Tel.: (415) 692-0772                              Fax: (212) 213-5949
                    8      Fax: (415) 366-6110                               jaybarnes@simmonsfirm.com
                           ecp@pritzkerlevine.com                            atruong@simmonsfirm.com
                    9      jkl@pritzkerlevine.com
                           bc@pritzkerlevine.com
                   10
                           BLEICHMAR FONTI & AULD LLP                        COTCHETT, PITRE & McCARTHY LLP
                   11      Lesley Weaver (SBN 191305)                        Nanci E. Nishimura (SBN 152621)
                           Anne K. Davis (SBN 267909)                        Brian Danitz (SBN 247403)
                   12
                           Joshua D. Samra (SBN 313050)                      Karin B. Swope (admitted pro hac vice)
                   13      1330 Broadway, Suite 630                          840 Malcolm Road, Suite 200
                           Oakland, CA 94612                                 Burlingame, CA 94010
                   14      Tel.: (415) 445-4003                              Tel.: (650) 697-6000
                           Fax: (415) 445-4020                               Fax: (650) 697-0577
                   15      lweaver@bfalaw.com                                nnishimura@cpmlegal.com
                           adavis@bfalaw.com                                 bdanitz@cpmlegal.com
                   16      jsamra@bfalaw.com                                 kswope@cpmlegal.com
                   17      DICELLO LEVITT GUTZLER LLC                        BOTTINI & BOTTINI, INC.
                           David A. Straite (admitted pro hac vice)          Francis A. Bottini, Jr. (SBN 175783)
                   18      485 Lexington Ave., Suite 1001                    Yury A. Kolesnikov (SBN 271173)
                   19      New York, NY 10017                                7817 Ivanhoe Avenue, Suite 102
                           Tel.: (646) 993-1000                              La Jolla, CA 92037
                   20      Fax: (212) 213-5949                               Tel.: (858) 914-2001
                           dstraite@dicellolevitt.com                        Fax: (858) 914-2002
                   21                                                        fbottini@bottinilaw.com
                                                                             ykolesnikov@bottinilaw.com
                   22

                   23
                                                                               /s/ Khary Anderson
                   24                                                         Khary Anderson
                                                                              Cooley LLP
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